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                              UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF CALIFORNIA
                                 SAN FRANCISCO DIVISION

Richard Kadrey, Sarah Silverman, Christopher       Case No. 3:23-cv-03417-VC
Golden, Ta-Nehisi Coates, Junot Díaz, Andrew
Sean Greer, David Henry Hwang, Matthew Klam,       PLAINTIFFS’ ADMINISTRATIVE
Laura Lippman, Rachel Louise Snyder, Jacqueline    MOTION TO FILE UNDER SEAL
Woodson, and Lysa TerKeurst,                       PORTIONS OF THE SECOND
                                                   CONSOLIDATED AMENDED
       Individual and Representative Plaintiffs,
                                                   COMPLAINT
       v.
Meta Platforms, Inc., a Delaware corporation;
                                    Defendant.




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                                       I.         INTRODUCTION

       Pursuant to Civil Local Rules 7-11 and 79-5, Plaintiffs hereby move the Court to consider

whether portions of Plaintiffs’ Second Consolidated Amended Complaint (“SCAC”) should be filed

under seal. Meta contends the portions sought to be filed under seal, which were previously filed

redacted under seal with Plaintiffs’ First Consolidated Amended Complaint (see ECF No. 69; the

“FCAC”), contain information protected by attorney-client privilege.

       The Parties stipulated that Plaintiffs may file an amended complaint adding Lysa TerKeurst as

a Plaintiff within five days of the resolution of the privilege dispute, and the Court approved the

stipulation. ECF No. 107, ¶ 2. On August 22, 2024 Magistrate Judge Hixson issued a Discovery Order

addressing the privilege dispute. ECF No. 114. Plaintiffs plan to file objections to the Discovery Order,

and therefore believe the privilege dispute is still pending. Fed. R. Civ. P. 72(a). Nonetheless, to avoid

any potential prejudice to Plaintiff TerKeurst, Plaintiffs are filing this SCAC adding Plaintiff TerKeurst

within five days of the entry of the Discovery Order, with the disputed allegations redacted under seal.

Accompanying this Motion is the Declaration of Christopher K.L. Young in Support of Plaintiffs’

Administrative Motion to File Under Seal a proposed order.

                                            II.    ARGUMENT

       In the Ninth Circuit, when a party seeks to seal portions of a complaint, the compelling reasons

standard is typically used. See, e.g., In re NVIDIA Corp. Derivative Litig., C 06-06110 SBA, 2008 WL

1859067, at *3 (N.D. Cal. Apr. 23, 2008); Ojmar US, LLC v. Sec. People, Inc., No. 16-CV-04948-

HSG, 2016 WL 6091543, at *2 (N.D. Cal. Oct. 19, 2016); see also In re ZF-TRW Airbag Control Units

Prod. Liab. Litig., No. ML1902905JAKFFMX, 2020 WL 13688234, at *3 (C.D. Cal. Sept. 7, 2020)

(“Although the Ninth Circuit appears not to have explicitly stated what standard applies to the sealing

of a complaint, many courts in this district and elsewhere have found that the compelling reasons

standard applies.”). This is because a complaint is “the root, the foundation, the basis by which a suit

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arises and must be disposed of.” NVIDIA Corp. Derivative Litig., 2008 WL 1859067, at *3.

       Compelling reasons “outweigh the public’s interest in disclosure and justify sealing court

records . . . when such ‘court files might have become a vehicle for improper purposes,’ such as the

use of records to gratify private spite, promote public scandal, circulate libelous statements, or release

trade secrets . . . .” Kamakana v. City & Cnty. of Honolulu, 447 F.3d 1172, 1179 (9th Cir. 2006) (citing

Nixon v. Warner Commc’ns, Inc., 435 U.S. 589, 598 (1978)). The party seeking to seal bears the

burden of showing compelling reasons apply. See id. at 1178.

       Here, Meta has asserted privilege over certain portions of the SCAC which were originally

included in the FCAC (ECF No. 69), claiming certain allegations contain information that is protected

by the attorney-client privilege. Plaintiffs disagree that the information is privileged, and even if it

were, any privilege was waived. On August 22, 2024, Magistrate Judge Hixson issued a Discovery

Order holding the disputed materials are privileged. ECF No. 115. The Parties previously stipulated

that Plaintiffs may file an amended complaint adding Lysa TerKeurst as a Plaintiff within five days of

the resolution of the privilege dispute, and the Court approved the stipulation. ECF No. 107, ¶ 2.

Although Plaintiffs do not view the Discovery Order as the final resolution of the dispute, Fed. R. Civ.

P. 72(a), Plaintiffs file this SCAC adding allegations specific to Plaintiff Lysa TerKeurst, to avoid any

potential prejudice to Plaintiff TerKeurst. In so doing, Plaintiffs seek to maintain the disputed portions

under seal in redacted form consistent with the Parties’ agreement until Plaintiffs’ Rule 72 objections

to the Order are properly resolved by the Court. Plaintiffs therefore submit this motion in accordance

with Local Rule 79-5.




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                                     III.   CONCLUSION

     Plaintiffs therefore request that the following paragraphs of the SCAC be filed under seal.

 SCAC Paragraph                              Description of Information
54                     Information Meta contends is protected by the attorney-client privilege.
56                     Information Meta contends is protected by the attorney-client privilege.
59                     Information Meta contends is protected by the attorney-client privilege.
60                     Information Meta contends is protected by the attorney-client privilege.
61                     Information Meta contends is protected by the attorney-client privilege.
62                     Information Meta contends is protected by the attorney-client privilege.




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Dated: August 29, 2024                   By:        /s/ Christopher K.L. Young
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